     Case 2:17-cv-00014-APG-NJK Document 25 Filed 09/26/17 Page 1 of 11




 1                               UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3                                                   ***
 4    SCOTT MICHAEL WHITT,                                 Case No. 2:17-cv-00014-APG-NJK
 5                           Plaintiff,
                                                           ORDER GRANTING DEFENDANT RC
 6          v.                                             WILLEY’S MOTION TO DISMISS
                                                           AND DENYING PLAINTIFF’S
 7    RICHLAND HOLDINGS, INC. d/b/a                        MOTION FOR LEAVE TO AMEND
      ACCTCORP OF SOUTHERN NEVADA, A
 8    NEVADA CORPORATION; RC WILLEY                         (ECF Nos. 10, 13)
      FINANCIAL SERVICES; and ATTORNEY
 9    JEROME R. BOWEN, ESQ.,
10                           Defendants.
11

12          Scott Whitt sues defendants Richland Holdings, Inc d/b/a ACCTCORP of Southern

13   Nevada (AcctCorp), RC Willey Financial Services (RCW), and attorney Jerome R. Brown for

14   alleged actions arising from the collection of a debt. Whitt claims that all defendants are liable

15   for violations of the Fair Debt Collection Practices Act (FDCPA) and Nevada Revised Statutes

16   Chapter 598 (regarding deceptive trade practices), as well as for abuse of process and civil

17   conspiracy.

18          RCW moves to dismiss the complaint in its entirety or, in the alternative, for a more

19   definite statement as to Whitt’s deceptive trade practices (DTP) claim. Whitt seeks leave to

20   amend his complaint to correct the deficiencies discussed in RCW’s motion. I dismiss with

21   prejudice Whitt’s FDCPA and abuse of process claims, and I dismiss the DTP and civil

22   conspiracy claims, but with leave to amend. Whitt’s motion for leave to amend is moot.

23   I.     BACKGROUND1

24          In 2011, Whitt entered into a contract with RCW for a line of credit to purchase home

25

26
            1
27            These facts are taken from Whitt’s complaint and the underlying state court docket, and
     what I accept as true at the motion to dismiss stage. See Ashcroft v. Iqbal, 556 U.S. 662, 678
28   (2009). I may take judicial notice of the fact that documents were filed in state court proceedings,
     Case 2:17-cv-00014-APG-NJK Document 25 Filed 09/26/17 Page 2 of 11




 1   furnishings and related goods.2 Whitt eventually became delinquent in his payments and had an

 2   account balance of $7,850.95.3 RCW assigned the debt to AcctCorp for collection.4 On August

 3   19, 2014, AcctCorp filed a lawsuit in state court to collect the debt.5 The complaint demanded

 4   payment of “the total sum of $11,776.43, including Contractual Collection Fees, plus Contractual

 5   Interest at the rate of 24.00%, from Date of First Delinquency, which is an amount equal to

 6   $123.89, plus Costs . . . .”6 Default was entered on June 9, 2015.7 AcctCorp then filed an

 7   application for default judgment, and later filed a “Prove Up Request.”8

 8          Two documents attached to the prove-up request contain the crux of Whitt’s allegations

 9   against RCW. The first, titled “Confidential Legal Authorization,” purportedly authorized

10   AcctCorp to file suit against Whitt, and was signed by an unidentified person.9 That document

11   listed the “balance assigned” to AcctCorp as $7,850.95.10 The second document is titled

12   “Affidavit/Declaration of Custodian of Records.”11 There, Melissa Anderson, identified as

13   RCW’s custodian of records, states that Whitt “became delinquent on 2/14/2014 with an account

14   balance of $7,850.95. A contractual collection fee of $3,925.48 was added for a total of

15   $11,776.43.12 The affidavit was not notarized. Rather, Anderson signed the portion of the

16   affidavit stating: “If executed outside this state (Nevada): ‘I declare under penalty of perjury

17

18   but I do not take judicial notice of the truth of the matters stated within those filings. Lee v. City
     of L.A., 250 F.3d 668, 690 (9th Cir. 2001).
19
            2
                ECF No. 1 at 2; ECF No. 12-2 at 8 (credit application).
20          3
                ECF No. 1 at 2-3.
21          4
                Id. at 2.
            5
22              ECF No. 12-1 (state court complaint).
            6
23              Id. at 3.
            7
                ECF No. 12-2 at 33.
24          8
                ECF No. 16-2 at 3 (revised proposed amended complaint).
25          9
                Id.
26          10
                 Id.
            11
27               Id.
            12
                 Id.
28


                                                  Page 2 of 11
     Case 2:17-cv-00014-APG-NJK Document 25 Filed 09/26/17 Page 3 of 11




 1   under the State of Nevada that the foregoing is true and correct.’”13 The state court granted

 2   AcctCorp’s application and entered default judgment.14

 3            Whitt initiated this action in January 2017. All of his claims against RCW stem from the

 4   following factual assertions. RCW’s contract with Whitt is governed by Utah law.15 Utah law

 5   prohibits contractual collection fees for more than 40% of the principal balance of a debt.16 The

 6   collection fee collected here is approximately 50% of the principal balance, and thus violates

 7   Utah law.17 Therefore, Whitt alleges that RCW and the other defendants (1) violated the FDCPA

 8   because they used “‘unfair and unconscionable means’ to collect the debt” by violating Utah law;

 9   (2) “commenced and/or prosecuted legal proceedings against [Whitt] for the ulterior purpose of

10   collecting unlawful rates of interest and unlawful fees in violation of the FDCPA”; (3) “engaged

11   in unfair and deceptive acts or practices in the conduct of its commerce and trade through its

12   unfair and deceptive debt collection and litigation activities in violation of NRS Chapter 58”; and

13   (4) engaged in civil conspiracy by undertaking “a concerted action with the intent to” violate Utah

14   law.18

15            RCW moves to dismiss, arguing that (1) FDCPA claims cannot be brought against an

16   original creditor; (2) all of the claims are barred under the FDCPA’s one-year statute of

17   limitations; (3) AcctCorp, not RCW, brought legal action against Whitt, and the only involvement

18   RCW had in the case was providing an affidavit stating the debt amount, which was done in the

19   regular course of the judicial proceeding; (4) Whitt’s citation in his complaint to the entirety of

20   NRS Chapter 58 is so vague and ambiguous that RCW cannot reasonably prepare a response; and

21   (5) the civil conspiracy claim fails because all of Whitt’s other claims fail.19

22
              13
23                 ECF No. 12-2 at 31 (Affidavit/Declaration).
              14
                   ECF No. 12-3.
24            15
                   ECF No. 1 at 2.
25            16
                   Id. at 3.
26            17
                   Id.
              18
27                 ECF No. 1 at 4-7.
              19
                   ECF No. 10.
28


                                                   Page 3 of 11
     Case 2:17-cv-00014-APG-NJK Document 25 Filed 09/26/17 Page 4 of 11




 1           Whitt seeks leave to amend his complaint to cure the defects pointed out in RCW’s

 2   motion.20 The proposed amended complaint, however, does not provide any further detail

 3   regarding which Nevada statutory claims he intended to assert.21 In his reply, Whitt attaches a

 4   revised amended complaint including some specific provisions of the statute he alleges the

 5   defendants violated.22

 6   II.     DISCUSSION

 7           A.        Legal Standards

 8                     1.       Motion to Dismiss

 9           A properly pleaded complaint must provide a “short and plain statement of the claim

10   showing that the pleader is entitled to relief.”23 While Rule 8 does not require detailed factual

11   allegations, it demands more than “labels and conclusions” or a “formulaic recitation of the

12   elements of a cause of action.”24 “Factual allegations must be enough to rise above the

13   speculative level.”25 To survive a motion to dismiss, a complaint must “contain[] enough facts to

14   state a claim to relief that is plausible on its face.”26

15           District courts must apply a two-step approach when considering motions to dismiss.27

16   First, the court must accept as true all well-pleaded factual allegations and draw all reasonable

17   inferences from the complaint in the plaintiff’s favor.28 Legal conclusions, however, are not

18   entitled to the same assumption of truth even if cast in the form of factual allegations.29 Mere

19

20           20
                  ECF No. 13.
21           21
                  See ECF No. 13-1 at 8-9.
             22
22                ECF No. 16-2.
             23
23                FED. R. CIV. P. 8(a)(2); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).
             24
                  Iqbal, 556 U.S. at 678 (2009).
24           25
                  Twombly, 550 U.S. at 555.
25           26
                  Iqbal, 556 U.S. at 696 (internal quotation marks and citation omitted).
26           27
                  Id. at 679.
             28
27                Id.; Brown v. Elec. Arts, Inc., 724 F.3d 1235, 1247–48 (9th Cir. 2013).
             29
                  Iqbal, 556 U.S. at 679; Brown, 724 F.3d at 1248.
28


                                                    Page 4 of 11
     Case 2:17-cv-00014-APG-NJK Document 25 Filed 09/26/17 Page 5 of 11




 1   recitals of the elements of a cause of action, supported only by conclusory statements, do not

 2   suffice.30 Second, the court must consider whether the factual allegations in the complaint allege

 3   a plausible claim for relief.31 A claim is facially plausible when the complaint alleges facts that

 4   allow the court to draw a reasonable inference that the defendant is liable for the alleged

 5   misconduct.32 Where the complaint does not permit the court to infer more than the mere

 6   possibility of misconduct, the complaint has “alleged—but it has not shown—that the pleader is

 7   entitled to relief.”33 When the claims have not crossed the line from conceivable to plausible, the

 8   complaint must be dismissed.34 “Determining whether a complaint states a plausible claim for

 9   relief will . . . be a context-specific task that requires the [district] court to draw on its judicial

10   experience and common sense.”35

11                     2.       Motion for Leave to Amend

12           Federal Rule of Civil Procedure 15(a)(2) provides that “a party may amend its pleading

13   only with the opposing party’s written consent or the court’s leave. The court should freely give

14   leave when justice so requires.” My discretion to grant leave to amend is guided by various

15   factors, including “bad faith, undue delay, prejudice to the opposing party, and whether the

16   plaintiff has previously amended the complaint.”36 I apply Rule 15’s policy favoring

17   amendments with “extreme liberality.”37

18           B.        FDCPA

19           The FDCPA distinguishes between creditors and debt collectors. “Debt collector” refers

20

21           30
                  Iqbal, 556 U.S. at 678.
22           31
                  Id. at 679.
             32
23                Id. at 663.
             33
24                Id. at 679 (internal quotation marks and citation omitted).
             34
                  Twombly, 550 U.S. at 570.
25
             35
                  Iqbal, 556 U.S. at 679.
26           36
                Ecological Rights Found. v. Pac. Gas & Elec. Co., 713 F.3d 502, 520 (9th Cir. 2013)
27   (internal quotation marks and citation omitted).
             37
                  U.S. v. Webb, 655 F.2d 977, 979 (9th Cir. 1981).
28


                                                    Page 5 of 11
     Case 2:17-cv-00014-APG-NJK Document 25 Filed 09/26/17 Page 6 of 11




 1   to “any person who uses any instrumentality of interstate commerce … in any business the

 2   principal purpose of which is the collection of any debts, or who regularly collects or attempts to

 3   collect, directly or indirectly, debts owed or due or asserted to be owed or due another.”38 A

 4   “creditor” is “any person who offers or extends credit creating a debt or to whom a debt is owed,

 5   but such term does not include any person to the extent that he receives an assignment or transfer

 6   of debt in default solely for the purpose of facilitating collection of such debt for another.”39 By

 7   the express terms of the statute, a creditor collecting its own debt is not a debt collector.

 8          Whitt admits that RCW is a creditor to which the FDCPA does not apply.40 I therefore

 9   grant RCW’s motion to dismiss the FDCPA claim against RCW.

10          C.        State law claims and FDCPA’s statute of limitations

11          RCW argues that all of Whitt’s remaining state law claims are predicated on violations of

12   the FDCPA, and therefore must also be dismissed because (1) Whitt does not state a claim against

13   RCW under the FDCPA, and (2) the FDCPA’s one-year statute of limitations bars those claims.41

14          RCW provides no relevant support for the argument that, because the FDCPA claim must

15   be dismissed, all other claims based on the same alleged conduct must also be dismissed. I have

16   dismissed the FDCPA claim against RCW solely because the FDCPA’s express statutory

17   language does not apply to original creditors. That does not mean that no state law claim based

18   on similar conduct cannot be brought against RCW. The FDCPA does not preempt state laws

19   regarding debt collection practices, “except to the extent that those laws are inconsistent” with the

20   FDCPA “and then only to the extent of the inconsistency.”42 “Although states may enact greater

21   protections than the FDCPA, not every violation of state law amounts to an FDCPA violation.”43

22
            38
                 15 U.S.C. § 1692a(6).
23
            39
                 Id. § 1692a(4).
24          40
            ECF No. 1 at 2, ⁋ 6; ECF No. 12 at 7, ⁋ 10-12 (“Plaintiff does not dispute that his
25   FDCPA claim does not apply to RC Willey since RC Willey is the original creditor.”)
            41
                 ECF No. 10 at 5-8.
26
            42
                 15 U.S.C. § 1692n.
27          43
              Preston v. Clark County Collection Serv., LLC, 2:15-cv-00021-APG-PAL, 2014 WL
28   6882626, at *4 (D. Nev. Dec. 4, 2011) (citing Wade v. Regional Credit Ass’n, 87 F.3d 1098, 1100


                                                  Page 6 of 11
     Case 2:17-cv-00014-APG-NJK Document 25 Filed 09/26/17 Page 7 of 11




 1   Whitt could allege facts indicating that the same unlawful conduct may violate state law but

 2   would not violate the FDCPA.

 3          Similarly, RCW’s argument that the FDCPA’s statute of limitations applies to Whitt’s

 4   state law claims is unavailing. RCW points to no authority allowing the application of a federal

 5   statute of limitations to state law prohibiting similar conduct. In the absence of any such

 6   authority, I decline to apply the FDCPA’s statute of limitations to Whitt’s state law claims.

 7          D.        Abuse of Process

 8          To successfully allege a tort claim for abuse of process under Nevada law, a plaintiff must

 9   establish two elements: (1) the defendant had an ulterior purpose in the underlying lawsuit other

10   than resolving a legal dispute, and (2) the defendant willfully and improperly used the legal

11   process to accomplish that purpose.44 “Thus, the [plaintiff] must provide facts, rather than

12   conjecture, showing that the party intended to use the legal process to further an ulterior

13   purpose.”45 An action for abuse of process hinges on misuse of regularly issued process, in

14   contrast to malicious prosecution, which rests upon wrongful issue of process.46 The mere filing

15   of a complaint with malicious intent is insufficient to state an abuse of process claim; there must

16   also be some act subsequent to filing that abuses the process.47

17          The Supreme Court of Nevada has found improper willful acts where a defendant

18   commits a flagrant or extraordinary act that perverts the legal process. For example, in Nevada

19   Credit Rating Bureau v. Williams, the Court affirmed a finding of abuse of process where a

20   plaintiff attached an entire property worth over $30,000 to secure a debt of less than $5,000 with

21

22

23
     (9th Cir. 1996) (“We disagree with Wade that debt collection practices in violation of state law
24   are per se violations of the FDCPA.”)).
            44
                 LaMantia v. Redisi, 38 P.3d 877, 880 (Nev. 2002).
25
            45
                 Land Baron Inv. v. Bonnie Springs Family LP, 356 P.3d 511, 519 (Nev. 2015).
26          46
              Dutt v. Kremp, 844 P.2d 786, 790 (Nev. 1992) (internal citations omitted), overruled on
27   other grounds by LaMantia v. Redisi, 38 F.3d 877 (Nev. 2002).
            47
                 Laxalt v. McClatchy, 622 F. Supp. 737, 752 (D. Nev. 1985).
28


                                                 Page 7 of 11
     Case 2:17-cv-00014-APG-NJK Document 25 Filed 09/26/17 Page 8 of 11




 1   the ulterior purpose to coerce payment rather than to obtain security for the debt.48 Similarly, the

 2   Court found abuse of process when a city attorney charged a police officer with a criminal

 3   violation in order to obtain the officer’s voluntary resignation.49 Coercing a nuisance settlement

 4   where there was no legal basis for a claim was also an abuse of process.50

 5          Whitt’s complaint and proposed amended complaint allege the defendants “commenced

 6   and/or prosecuted legal proceedings against Plaintiff for the ulterior purpose of collecting

 7   unlawful rates of interest and unlawful fees in violation of the FDCPA.”51 However, Whitt

 8   acknowledges that RCW did not file the state action or prosecute the case.52 Instead, Whitt

 9   claims that RCW “actively participated in the abuse of process by providing inconsistent and

10   inadmissible evidence regarding the amount assigned to [AcctCorp], by agreeing to charge [a]

11   collection fee of 50% in violation of Utah law and its contract with Plaintiff.”53 He argues that

12   the Affidavit/Declaration and the Confidential Legal Authorization form supplied by RCW are

13   inconsistent because only the Affidavit/Declaration reflects the allegedly unlawful contractual

14   collection fee. He also claims that the Affidavit/Declaration’s technical flaws54 indicate that the

15   documents were “not reviewed carefully by affiants and notarization was done in a manner that

16   flaunted state law regarding notaries public.”55

17          Whitt’s contentions do not state a claim for abuse of process against RCW because Whitt

18   does not allege that RCW actually used the legal process. Rather, Whitt argues that RCW abused

19   the court process by providing AcctCorp with an affidavit (which AcctCorp subsequently filed in

20
            48
21               503 P.2d 9, 12-13 (Nev. 1972).
            49
                 Pasadas v. City of Reno, 851 P.2d 438, 445 (Nev. 1993).
22          50
                 Bull v. McCuskey, 615 P.2d 957, 960 (Nev. 1980).
23          51
                 ECF No. 1 at 5; ECF No. 13-1 at 7.
24          52
                 ECF No. 1 at 2-3; ECF No. 13-1 at 3.
            53
25               ECF No. 12 at 7.
            54
              Whitt also takes issue with the fact that the heading of the affidavit mentions Clark
26
     County, Nevada, while Anderson signed the document outside of Nevada. See id. at 4.
27          55
               Id. at 13 (citing Brannan v. Wells Fargo Home Mortg., Inc., 485 B.R. 443, 450 (Bankr.
     S.D. Ala. 2013).
28


                                                  Page 8 of 11
     Case 2:17-cv-00014-APG-NJK Document 25 Filed 09/26/17 Page 9 of 11




 1   the state action) that listed an unlawful collection fee and was not properly notarized. It is not

 2   alleged that RCW filed the affidavit itself or was otherwise actively involved in the state court

 3   action. Simply stated, RCW did not use the legal system; AcctCorp did. Because RCW cannot

 4   reasonably be said to have used the legal system to collect this debt, I dismiss this claim against

 5   RCW with prejudice.

 6          E.        Deceptive Trade Practices56

 7          Whitt’s complaint alleges that all defendants “engaged in unfair and deceptive acts or

 8   practices in the conduct of its (sic) commerce or trade through its (sic) unfair and deceptive debt

 9   collection and litigation activities in violation of NRS Chapter 598.”57 Chapter 598 contains ten

10   sections, each which defines a separate set of deceptive trade practices.58 Each of those sections

11   further enumerates categories of conduct, some identifying as many as 16 sub-categories of

12   violating conduct.59 RCW argues that it “cannot be expect to guess regarding on which of these

13   nearly one hundred (100) possible categories of conduct [Whitt] is basing his claims.”60 RCW

14   asks that Whitt provide “a more definite statement setting forth (1) under what category of DTP

15   [Whitt] brings the claim and (2) what facts support such claims.”61

16          Although Whitt did not object to RCW’s motion for a more definite statement on his DTP

17   claim and promised to provide more specifics, Whitt’s proposed amended complaint fails to

18   contain any additional information.62 In his reply, Whitt claims he attached the wrong document

19   to his motion for leave to amend, and attached the “corrected” one as an exhibit to his reply.63 In

20
            56
21           Because I denied RCW’s request to dismiss this claim, see Section II.C, supra, I address
     only RCW’s motion for a more definite statement as to this claim.
22          57
                 ECF No. 1 at 6.
            58
23            See generally, Nev. Rev. Stat. §§ 598.015, 598.016, 598.017, 598.018, 598.092,
     598.0921, 598.0922, 598.0923, 598.0924, and 598.0925.
24          59
                 See id.
25          60
                 ECF No. 10 at 9.
26          61
                 Id. at 10.
            62
27               See ECF No. 13-1 at 7-8.
            63
                 ECF No. 16 at 2 n.1; ECF No. 16-2.
28


                                                 Page 9 of 11
     Case 2:17-cv-00014-APG-NJK Document 25 Filed 09/26/17 Page 10 of 11




 1    that version of his amended complaint, he includes three specific sections he alleges the

 2    defendants violated.64 The “factual allegations” portion of the amended complaint was also

 3    expanded to include additional facts specific to Whitt’s allegations against RCW.65

 4           The proposed amended complaint attached to Whitt’s reply was improperly filed and I

 5    will not consider it. However, because Whitt has shown that he may be able to amend his

 6    complaint to state a DTP claim, I grant Whitt leave to file an amended complaint addressing the

 7    deficiencies discussed above, including with the DTP claims. I deny Whitt’s current motion for

 8    leave to amend as moot.

 9           F.        Civil Conspiracy

10           RCW argues that Whitt’s civil conspiracy claim fails because all of his other claims fail.66

11    Because I grant Whitt leave to file an amended complaint as to his DTP claims, that argument is

12    unpersuasive. However, Whitt’s civil conspiracy claim contains only conclusory statements and

13    formulaic recitations of the elements of civil conspiracy.67 It merely states that “the defendants

14    undertook a concerted action with the intent to commit the Collection Fee Violations, the

15    [FDCPA] Violations, and the Interest Fees Violations.”68 It is unclear which facts alleged in the

16    complaint support this claim. I dismiss Whitt’s civil conspiracy claim but grant him leave to

17    amend it if he can properly allege sufficient facts to support such a claim.

18    III.   CONCLUSION

19           IT IS THEREFORE ORDERED that Defendant RCW’s motion to dismiss (ECF No. 10)

20    is GRANTED. Whitt’s FDCPA and abuse of process claims against RCW are dismissed with

21    prejudice. Whitt’s DTP and civil conspiracy claims against RCW are dismissed with leave to

22

23

24           64
                  ECF No. 16-2 at 7-8.
25           65
                  See id. at 2-6.
26           66
                  ECF No. 10 at 10.
             67
27                See Twombly, 550 U.S. at 555; Iqbal, 556 U.S. at 678.
             68
                  ECF No. 1 at 8.
28


                                                 Page 10 of 11
     Case 2:17-cv-00014-APG-NJK Document 25 Filed 09/26/17 Page 11 of 11




 1    amend. The plaintiff must file and serve an amended complaint consistent with this order on or

 2    before October 13, 2017.

 3           IT IS FURTHER ORDERED that Whitt’s motion for leave to amend (ECF No. 13) is

 4    DENIED as moot.

 5           DATED this 26th day of September, 2017.

 6

 7                                                       ANDREW P. GORDON
                                                         UNITED STATES DISTRICT JUDGE
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                               Page 11 of 11
